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                                            May 3, 2021
 VIA ECF

 Hon. Kiyo A. Matsumoto
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:     Agudath Israel of America, et al. v. Cuomo, No. 20-cv-04834 (E.D.N.Y.)

 Dear Judge Matsumoto:

         We are writing to advise the Court that the parties have made substantial progress and are
 very close to reaching a final resolution of the outstanding fees issue in this matter. The parties
 expect that they should be able to reach and document their final agreement in the coming weeks.

         We therefore request an extension of time until June 4, 2021 to submit an application for
 attorneys’ fees pursuant to Federal Rule of Civil Procedure 54. Counsel for Defendant consents
 to the extension of the deadline to file a fee application from May 7, 2021 through and including
 June 4, 2021. This is the fourth request for an extension of this deadline.

                                                      Respectfully submitted,




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                                                         Avi Schick
